         Case 1:89-cr-00162-RCL Document 178 Filed 04/20/16 Page 1 of 8



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                     )
                                              )
               v.                             )       No. 1:89-cr-00162-RCL-6
                                              )
TONY LEWIS,                                   )
    Defendant.                                )       ECF

    OPPOSITION TO DEFENDANT’S MOTION FOR REDUCTION OF SENTENCE

       COMES NOW, the United States of America respectfully to oppose defendant’s pending

pro se “Petition For Reduction of Sentence,” filed at Docket Entry No. 147.

SUMMARY: Under 18 U.S.C. § 3582(c), based upon Amendments 782 & 788 to the United
States Sentencing Commission Guidelines Manual (U.S.S.G.), defendant moves for a reduction in
his life prison sentence for drug-trafficking crimes in the “Rayful Edmond” case. Defendant’s
Pre-Sentence Investigation (PSI) report concluded that he was as culpable as Edmond himself. The
government opposes granting the motion for two reasons: First, defendant is not eligible for a
reduced sentence under U.S.S.G. Amendment 782 & 18 U.S.C. § 3582(c) because the
amendments do not have the effect of lowering defendant’s guidelines based upon his relevant
criminal conduct, which involved more than 150 kilograms of cocaine and more than 1.5
kilograms of crack cocaine base. See U.S.S.G. § 1B1.10(a)(2)(B). These are the amounts stated in
defendant’s PSI, and the United States Probation Office’s most recent analysis supports the
conclusion that defendant is ineligible for a sentence reduction. Second, even if the Court
disagreed with the first proposition – indeed, even when the parties do not dispute that a defendant
is eligible for a sentence reduction -- the Courthas the discretion to deny a § 3582(c) motion. See
United States v. Green, 625 Fed.Appx. 901 (10th Cir. 2015) (eligibility for a 782-based sentence
reduction alone does not mandate relief § 3582(c)(2); United States v. Doyle, No. 15-50417, --
Fed. Appx. -- (5th Cir. Dec. 3, 2015) (no abuse of discretion in denying 782-based sentence
reduction after Court concluded defendant was eligible for reduction, but chose to deny motion as
matter of discretion after considering factors in 18 U.S.C. § 3553(a)), available at 2015 WL
7785820. Here, the Court should exercise its discretion to reject defendant’s motion for a reduced
sentence.

       1.      Defendant is before the Court to move again for a sentence reduction under 18

U.S.C. § 3582(c), this time based upon guidelines amendments 782 and 788. Taken together, these

amendments effectively reduced by two the offense levels associated with relevant criminal

conduct involving particular amounts of controlled substances, which are set forth in U.S.S.G. §

                                                  1
         Case 1:89-cr-00162-RCL Document 178 Filed 04/20/16 Page 2 of 8



2D1.1. Colloquially known as “All Drugs Minus Two,” these amendments are the third iteration in

a series of U.S.S.G. amendments affecting § 2D1.1. The first reduced by two the base offense

levels associated with relevant criminal conduct involving quantities of crack cocaine base. The

second amendment also only deals with crack cocaine base -- it also reduced the § 2D1.1 offense

levels associated with certain amounts of crack cocaine base, carrying out changes to the anti-drug

laws enacted in the Fair Sentencing Act of 2010. As its nickname implies, the third amendment,

No. 782, effectually reduces the offense levels § 2D1.1 by two levels for all illegal drugs.

       2.      This Court has dealt before with sentence reduction motions by defendant under §

3582(c). See D.E. Nos. 130 (denial of U.S.S.G. Amendment 750-premised sentence reduction

motion), 139 (denial of reconsideration motion), 142 (denial of U.S.S.G. Amendment 715-based

sentence reduction motion). In addition to § 3582(c)’s provisions, U.S.S.G. § 1B1.10 also governs

sentence reduction motions and eliminates eligibility when an amendment does not have the effect

of lowering the defendant’s applicable guideline range. Because the Court has dealt so extensively

with defendant’s case, as well as with other § 3582(c) sentence reductions by Edmond-Lewis

codefendants, the government does not reprise the factual and procedural background to the case,

which the late Judge Richey and this Court, among others have described at length in both

published and unpublished opinions. See United States v. Edmond, 746 F.Supp. 200, 203-204

(D.D.C. 1990).

I.     Defendant is not eligible for a sentence reduction:

       3.      In denying defendant’s earlier sentence reduction premised upon U.S.S.G.

Amendment 750, the Court noted that when resentencing a number of Edmond defendants, Judge

Richey had reached “the inescapable conclusion that the conspiracy involved more than fifty

grams of cocaine,” the minimum amount necessary for a base offense level of 36. See United
                                          2
         Case 1:89-cr-00162-RCL Document 178 Filed 04/20/16 Page 3 of 8



States v. Edmond, 746 F.Supp. 200, 203-204 (D.D.C. 1990). As a result, this Court denied

defendant’s earlier sentence reduction on the ground that, even after U.S.S.G. Amendment 750,

defendant still would have had a base offense level of 36. Thus, the amendment did not have the

effect of lowering defendant’s applicable guideline range. See U.S.S.G. § 1B1.10(a)(2)(B). See

D.E. No. 130 at 2.

       4.      Defendant remains ineligible for a sentence reduction based upon Amendment 782,

essentially for the same reason under U.S.S.G. § 1B1.10(a)(2)(B), albeit with a further

consideration. Neither Judge Richey’s 1990 opinion nor this Court’s earlier § 3582(c) denial held

that the Edmond defendants’ relevant criminal conduct was only 50 kilograms of cocaine powder –

indeed, Judge Richey made clear that the relevant criminal conduct was a great deal more than 50

kilograms of cocaine powder, and the 50 kilograms amount was an “inescapable” floor, not a

ceiling. United States v. Edmond, supra, 746 F.Supp. at 203-204. Judge Richey did not need to

determine the precise amount – for sentencing purposes at that time, he could stop counting when

he hit 50 kilograms, and he did. Speaking generally, Judge Richey wrote: “Without combing

through the testimony of the witnesses at the first two trials or the exhibits received in evidence,

the Court can immediately identify several instances of witnesses testifying credibly about

quantities of cocaine in excess of fifty kilograms.” Further, Judge Richey specifically noted:

       James Minor testified that he and David McCraw picked up fifty kilograms of cocaine . . .
       in August, 1988. . . . On one occasion, [co-conspirator Brooks] picked up as much as 77
       kilograms of cocaine; on another occasion, he picked up 58 kilograms of cocaine.

       At trial, Brooks testified that at any one time he stored anywhere from 89 to 93 kilograms
       of cocaine at his apartment under a platform bed. Almost immediately after Brooks' arrest,
       the [a codefendant] removed approximately 90 kilograms of cocaine from Brooks'
       apartment . . . . For a nine-month period, [three conspirators went to an] apartment to bag
       cocaine [] three times a week; each time they packaged one to two kilograms of cocaine.
       This means that [the three] packaged somewhere between 108 and 216 kilograms of
       cocaine over a nine-month period. . . .
                                                  3
         Case 1:89-cr-00162-RCL Document 178 Filed 04/20/16 Page 4 of 8




Id. at 203. In defendant’s case, his PSI concluded that his relevant conduct involved more than 170

kilograms of cocaine powder and more than 1.5 kilograms of crack cocaine base. See D.E. No.

147-2, pp. 7-8 (of the docket entry “retroactivity prep documents”), but pp. 4-5 of the actual PSI,

paragraphs 5-6.

       5.      As originally sentenced, defendant’s base offense level under U.S.S.G. § 2D1.1

was level 36. See D.E. No. 147-2 (PSI), p. 18 (of “retro document”), PSI p. 15, paragraph 28.

Based upon U.S.S.G. Amendment 782, the 2015 Guidelines Manual assigns a base offense level of

36 when the relevant criminal conduct involves between 150 and 450 kilograms of cocaine

powder. Even without considering the amount of crack cocaine base involved, this figure of 150

kilograms is well-exceeded by just the amounts referenced in the short quotation from Judge

Richey’s opinion above. Therefore, defendant is ineligible for a sentence reduction. In its analysis

of defendant’s sentencing guideline calculations based upon the 782-amended guidelines, the

United States Probation Office came to the same conclusion. See D.E. No. 176 (defendant “does

not appear to be eligible for reduction in sentence . . . . In this case, Amendment 782 to the United

States Sentencing Guidelines does not have the effect of lowering the defendant's applicable

guideline range and he is not eligible for sentence reduction pursuant to USSG §1B1.10(a)(2).”).

II.    Defendant does not merit a sentence reduction:

       6.      Assuming arguendo, that defendant Lewis were eligible for a sentence reduction,

this Court should exercise its discretion to deny one. The seminal opinion on this subject from this

jurisdiction is United States v. Butler, Nos. 1:89-cr-00162-RCL-2, 1:89-cr-00162-RCL-4, Mem.

Op and Order (D.D.C. Sept. 16, 2015), available at 2015 WL 5513484 *3. (§ “3582(c)(2) therefore

not only gives federal courts the power to reduce certain prison sentences, but it also permits courts

                                                  4
         Case 1:89-cr-00162-RCL Document 178 Filed 04/20/16 Page 5 of 8



to decline to exercise that power and leave otherwise eligible sentences unchanged”) (citing

United States v. Wilson, 716 F.3d 50, 52 (2d Cir. 2013) (“retroactive amendment to the

Guidelines ‘merely authorizes a reduction in sentence; it does not require one’”) (quoting United

States v. Rivera, 662 F.3d 166, 170 (2d Cir. 2011)). The view expressed in Butler has been

followed in nearly every § 3582(c) decision in this Court to have confronted the precise question.

See, e.g., United States v. Barajas, No. 1:11-cr-00148-ESH, Mem. Op. (D.D.C. April 5, 2016)

(Huvelle, J.), available at 2016 WL 1328095; United States v. Lamont, 1:04-cr-00536-RBW,

Mem. Op. (D.D.C. March 21, 2016) (Walton, J.); United States v. Moon, No.

1:10-cr-00051-RMC, Order (D.D.C. Jan. 28, 2016) (Collyer, J.).

       7.      Butler set forth the proper procedure for considering whether to exercise the

Court’s discretion in favor of a sentence reduction, recognizing that the salient criteria are the

sentencing factors set forth in 18 U.S.C. § 3552(a). Butler supra, 2015 WL 5513484 at *4-5.

Point by point, or factor by factor, Butler exhaustively analysed whether two of defendant Lewis’

codefendants should be granted sentence reductions and concluded they should not. Id. In contrast,

this Court came to the opposite conclusion – in other words concluded that § 3553(a) factors

warranted a sentence reduction -- in United States v. Haire, No. 1:00-cr-00426-RCL, Mem. Op.

(D.D.C. Sept. 30, 2015), available at 2015 WL 5781990. Haire was not an Edmond codefendant.

       8.      Of particular import to a decision on defendant Lewis’ motion are the points made

in Butler. With regard to Lewis’ codefendants Butler and Jones, the Court noted that in “these

cases, both defendants received enhancements for possession of dangerous weapons pursuant to

[U.S.S.G. §] 2D1.1. . . and each defendant received an adjustment for the management role they

played in the offense under [U.S.S.G. §] 3B1.1. Plainly and in absolutely no conceivable way,

were these defendants ‘lower-level non-violent drug offenders.’” Butler, supra, 2015 WL 5513484
                                                5
            Case 1:89-cr-00162-RCL Document 178 Filed 04/20/16 Page 6 of 8



at * 7. This was a prime factor in the Court’s analysis. Defendant Lewis received the same

adjustments in his calculations as applied to codefendants Butler and Jones. In light of this,

defendant Lewis’ PSI may be profitably quoted, on pages 4 and 5, which stated:

        Rayful Edmond III was the leader of a multi-million dollar wholesale and retail cocaine
        and “crack” cocaine distributing enterprise in the District of Columbia. The jury found
        this organization was responsible for distributing at least 150 kilograms of a mixture
        containing cocaine and 1.5 kilograms of a mixture containing cocaine base from 1985
        until April 15, 1989. There were three levels of responsibility in the Edmond
        organization. The highest level of the organization was concerned with purchasing of the
        cocaine from sources in California. The next level of the organization was responsible for
        the packaging, cutting, and the storing of the cocaine in the Washington metropolitan
        area. This level also included the wholesale operations of the organization, as well as the
        collecting and counting of monies received from its distribution activities. The third level
        of the organization was the retail operations, which distributed the cocaine at Morton
        Place and Orleans Place, N.E., also known as the “Strip.”

        At the highest level of the organization Mr. Edmond had a partner, Tony Lewis, with
        whom he pooled resources to purchase cocaine in large quantities. (Mr. Lewis had his
        own operation which distributed drugs on the street level in the Bates Street, N.W., area
        of the city).

D.E. No. 147-2, pp. 7-8 (of the docket entry “retroactivity prep documents), but pp. 4-5 of the

actual PSI, paragraphs 5-6. Later, the PSI adds:

        The most culpable in this enterprise is Mr. Rayful Edmond, III. Of equal culpability
        would be Tony Lewis in that he was a partner with Mr. Edmond and had his own
        street-level organization in the Bates Street, N.W., area. Melvin Butler would also be
        considered of equal culpability in that he served as a "broker" for them to obtain the
        cocaine from the Los Angeles, California, area. . . . Just below these three individuals in
        culpability would have to be [Lewis and Butler codefendant, James Antonio Jones, whose
        sentence reduction motion was denied in the Butler opinion, and three other codefendants].

D.E. No. 147-2, p 16 (PSI p. 13, paragraph 24). 1

        1
         Another section of defendant Lewis’ PSI recounts a moment illustrating the scale of defendant Lewis’ and
Edmond’s activities. This took place in the later 1980s, nearly 30 years ago, meaning it is not in inflation-adjusted
numbers:

        [Another person], who served as one of [defendant] Edmond's couriers of money to California, recalled going
        to the Buchanan House apartments on one occasion to pick up cash to take to California. On this occasion she
        met [defendants] Edmond, Lewis, and [and a third person] at the apartment. As soon as she arrived, [the third
        person helped the courier] fill her luggage with money which she estimated to be between $3,000,000 and
                                                         6
           Case 1:89-cr-00162-RCL Document 178 Filed 04/20/16 Page 7 of 8




         9.       In summary, as a matter of law, defendant is ineligible for a sentence reduction

under 18 U.S.C. § 3582(c) and U.S.S.G. § 1B1.10. The record is replete with evidence that

defendant’s relevant criminal conduct exceeded 150 kilograms of cocaine, the amount that

makes his base offense level 36 under the 782-amended 2015 sentencing guidelines. Thus,

Amendment 782 does not have the effect of lowering defendant’s applicable sentencing

guidelines. Independent of that, as a matter of fact or discretion, defendant should not receive a

sentence reduction. He was at the uppermost level of culpability for one of the largest

drug-trafficking conspiracies in the District of Columbia’s history. To borrow a phrase from the

Court, “Plainly and in absolutely no conceivable way, [was this] defendant [a] ‘lower-level

non-violent drug offender[].” The Court should deny defendant’s motion.




         $4,000,000. There was too much money to fit into [the courier’s] suitcases. [Defendants] Tony Lewis and
         Rayful Edmond III had a conversation about who would take the remainder of the money to California.

D.E. 147-2 (PSI) at 9, original PSI at 6, paragraph 9 (emphasis added). In considering the amount of drugs involved in
defendant’s conspiracy, the PSI notes that the Edmond gang paid $10,000 per kilogram of cocaine it bought from
codefendant Butler. Id. at PSI 4-5, paragraph 6. Leaving aside presumable economies of scale for huge drug
purchases, simple math makes the price of ten kilograms of cocaine $100,000, and thus $1 million equals 100
kilograms of cocaine. Even assuming the courier’s estimate was wrong by half, 150 kilograms of cocaine would be
$1.5 million, which is half of the low end of the estimated $3-4 million for this one trip. The PSI elsewhere notes that
defendant Edmond did not mention to his supplier an occasion when police had seized $2 million in cash that Edmond
had sent to buy cocaine and the PSI plainly suggests that there were multiple trips where this kind of money was
involved. Id. at PSI 6-7, paragraph 11. In addition to the lost $2 million, this same paragraph recounts police seizing
more than $1.1 million in a separate seizure of cash.
                                                           7
         Case 1:89-cr-00162-RCL Document 178 Filed 04/20/16 Page 8 of 8



       WHEREFORE, the United States respectfully prays this Honorable Court to deny

defendant’s motion for a sentence reduction.

                              Respectfully submitted,

                               /s/ Channing D. Phillips              _______________
                              CHANNING D. PHILLIPS, D.C. Bar No. 415793
                              United States Attorney for the District of Columbia


                               /s/ Leslie Ann Gerardo
                              LESLIE ANN GERARDO, D.C. Bar No. 419823
                              Chief, Special Proceedings Division
                              (202) 252-6603
                              Leslie.Gerardo@USDoJ.Gov


                               /s/ Barry Wiegand
                              BARRY WIEGAND, D.C. Bar No. 424288
                              Assistant United States Attorney
                              Special Proceedings Division,
                              555 Fourth Street, N.W.,
                              Washington, D.C. 20530
                              (202) 252-7723
                              William.B.Wiegand@USDoJ.Gov

                              CERTIFICATE OF SERVICE

        I certify that I caused service of the foregoing to be made through the Court’s ECF system
on or before Thursday, April 21, 2016. On Friday, April 15, 2016, I entered defendant’s name and
register number into the U.S. Federal Bureau of Prisons Inmate Locater computer website,
http://www.bop.gov/inmateloc/, to get the following postal address for pro se Inmate Tony Lewis,
Reg. No. 15443-083, FCI Cumberland, Federal Correctional Institution, Post Office Box 1000,
Cumberland, Maryland 21501, and I have caused a copy of the foregoing to be sent by first-class
delivery through the U.S. mails to defendant at this address on or before Friday, April 22, 2016.

                                                /s/ Barry Wiegand
                                               BARRY WIEGAND




                                                 8
